4:06-cr-03016-JMG-CRZ          Doc # 227      Filed: 02/14/11     Page 1 of 1 - Page ID # 1879




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                     4:06CR3016
                                               )
                 v.                            )
                                               )
ARMANDO GARCIA-DELACRUZ,                       )              SCHEDULING ORDER
                                               )
                      Defendants.              )
                                               )


       Now that the issue of whether Jessica Milburn should continue as the defendant’s counsel
has been resolved, I conclude that dates for the defendant to respond to certain filings should be
reestablished.
       IT IS ORDERED that the defendant by and through counsel shall have on or before March
14, 2011, to respond to the Motion for Summary Judgment, filing 175, and to file an amended
Motion to Vacate under 28 U.S.C. § 2255; the government may file a reply within 30 days of the date
of the filing of the defendant’s counsel’s document.
       Dated February 14, 2011.

                                      BY THE COURT


                                      s/ Warren K. Urbom
                                      United States Senior District Judge
